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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

TIMOTHY WEAKLEY 3
Leiotitt era O-CV-QUu7 {mr
Plaintiff Pro se, us i

V. Cause No:

 

AMAZON.COM INC. Jury Trial: Yes

FILED
AAA FREIGHT, INC. ET,AL. ————LODGED | MAIL
————REGEIVED
Defendant(s).
JAN 15 2020

CLERK U.S. DISTRICT coun aN
CIVIL COMPLAINT FOR GROSS NEGLIGENCE OR IN THE AL MEStERIDISTRIVEOF WASHINGTON

COMPLAINT FOR NEGLIGENCE
(28 U.S.C. § 1332; Diversity of Citizenship)

 

 

 

 

MAY IT PLEASE THE COURT:

COMES NOW PLAINTIFF (“Plaintiff”) and alleges that
Amazon.Com INC. (“Amazon”) and AAA Freight Inc. (“AAA”)
willfully and routinely coerced Plaintiff to operate a
commercial motor vehicle in axiomatic violation of the Federal
Motor Carrier Safety Act- Hours of Service (“EFMCSA HOS”)
constituting gross negligence per se. This complaint alleges
and will show that Amazon and AAA worked Plaintiff into the
ground like a rented mule and intentionally deprived Plaintiff
of sleep which gave rise to the October 31, 2019 traffic crash
that resulted in Plaintiff’s physical injuries and economic
damages. Additionally, in order to obfuscate Amazon and AAA’S

gross negligence- AAA would routinely edit Plaintiff’s
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electronic logbook violations so that law enforcement or the
Department of Transportation would be none the wiser. It has
often been said that the devil is in the details. This is the
case of: the devil is in the dispatches, remote- edits of the
electronic logbook and GPS tracking history of Plaintiff’s semi-

tractor.

I. THE PARTIES TO THIS COMPLAINT

A. Plaintiff.

Name: Timothy Weakley

Street Address: 414 East Mountain View Rd. Apartment 503
City and County: Johnson City, Washington County

State and Zip Code: Tennessee, 37601

Telephone Number: 423-524-3088

B. Defendant (s)

Defendant No. 1

Name: Amazon.Com Inc.

Street Address: 410 Terry Ave N.

City and County: Seattle, King County
State and Zip Code: Washington 98109
Telephone Number: (206) 266-1000

Defendant No. 2

Name: AAA Freight, Inc.

Street Address: 17201 State Street

City and County: South Holland, Cook County
State and Zip Code: Illinois, 60473
Telephone Number: (630) 413-9534

Il. SUMMARY OF THE COMPLAINT

Plaintiff alleges that AAA and its safety department would

routinely edit Plaintiff’s electronic logbook (“e-log”) with a
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criminal intent in order to cause it to appear that Plaintiff
was operating his semi~tractor within the confines of the
FMCSA’s HOS regulations. This complaint further alleges that
Amazon had direct knowledge of the gross FMCSA HOS violations
because of Amazon’s very sophisticated freight tracking
application of which Plaintiff was mandatorily required to
install and maintain in operation on his cell phone as a
condition of employment. Said application tracked Plaintiff's
movements down to the millisecond 24/7 so long as it was
installed on his cellular phone. Additionally, Amazon and AAA
[respectively and collectively] knew or should have known that
its conduct violated the law and placed the public at risk.
Also, Amazon and AAA: (1) Owed Plaintiff a duty, either to act
(or refrain from acting) in a certain way, as would be expected
from a “reasonable” person. (2) Acted (or failed to act)
contrary to their duty to the Plaintiff. (3) Amazon and AAA’s
breach of duty, in fact, resulted in the Plaintiff’s injuries as
the direct result of their breached duty. (4) Amazon and AAA’s
actions or inactions were within the scope of known risks and
they should have known an injury could occur. (5) As a result
of Amazon and AAA's negligence, plaintiff in fact suffered

injuries, physical or otherwise.
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IIT. BASIS FOR JURISDICTION AND VENUE

Both forum and venue are proper in this jurisdiction
pursuant to 28 U.S.C. § 1332 on the following grounds: (1)
Neither of the Defendants named in this civil complaint reside
in the same state as Plaintiff. (2) Defendant [Amazon.Com Inc. ]
is incorporated under the laws of the State of Washington, and

has its principal place of business in the State of Washington.

IV. THE AMOUNT IN CONTROVERSY

The amount in controversy exceeds $75,000, not counting
interest and costs of court. Plaintiff’s damages include but
are not limited to: medical expenses, loss of revenue and loss

of his semi- tractor.

vV. DEFINITIONS AND APPLICABLE STATUTES

FMCSA §395.3 Maximum driving time for property-carrying

vehicles.

(a) Except as otherwise provided in §395.1, no motor
carrier shall permit or require any driver used by it to drive a
property-carrying commercial motor vehicle, nor shall any such
driver drive a property-carrying commercial motor vehicle,
regardless of the number of motor carriers using the driver's
services, unless the driver complies with the following

requirements:

(1) Start of work shift. A driver may not drive without first

taking 10 consecutive hours off duty;
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(2) 14-hour period. A driver may drive only during a period of
14 consecutive hours after coming on duty following 10
consecutive hours off duty. The driver may not drive after the
end of the 14-consecutive-hour period without first taking 10

consecutive hours off duty.

(3) Driving time and rest breaks. (i) Driving time. A driver may
drive a total of 11 hours during the 14-hour period specified in

paragraph (a) (2) of this section.

(ii) Rest breaks. Except for drivers who qualify for either
of the short-haul exceptions in §395.1l(e) (1) or (2), driving is
not permitted if more than 8 hours have passed since the end of
the driver's last off-duty or sleeper-berth period of at least

30 minutes.

(b) No motor carrier shall permit or require a driver of a
property-carrying commercial motor vehicle to drive, nor shall
any driver drive a property-carrying commercial motor vehicle,
regardless of the number of motor carriers using the driver's

services, for any period after—

(1) Having been on duty 60 hours in any period of 7
consecutive days if the employing motor carrier does not operate

commercial motor vehicles every day of the week; or

(2) Having been on duty 70 hours in any period of 8
consecutive days if the employing motor carrier operates

commercial motor vehicles every day of the week.

(c) (1) Any period of 7 consecutive days may end with the

beginning of an off-duty period of 34 or more consecutive hours.

(2) Any period of 8 consecutive days may end with the

beginning of an off-duty period of 34 or more consecutive hours.
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VI. FACTUAL BACKGROUND

1. On or about May 4, 2019 AAA hired Plaintiff to perform
duties as a licensed class A commercial truck driver.
Subsequently, on or about May 4, 2019 Plaintiff then leased a
semi-tractor from AAA Leasing LLC. which is a sister company to

AAA and is located on the same premises as AAA.

2. Upon completing AAA’s hiring and leasing process Plaintiff
was then assigned to AAA’s “Amazon Division,” where for the most

part, Plaintiff would haul freight exclusively for Amazon.

3. In an escalating pattern of reckless disregard for federal
law, i.e., the FMCSA HOS, Amazon and AAA routinely coerced
Plaintiff into driving for unlawfully extended periods of time
lasting as long as 20 -30 hours or more with only an hour or two
of rest. Pursuant to FMCSA 49 CFR §395.3(3) (i): a driver may
only drive 11 hours without first taking 10-hour break prior to

driving again.

A. FIRST CASE AND POINT [AMAZON AND AAA’s CONDUCT COLLECTIVELY]

4, Attached is Plaintiff’s Ex. 1 as captured from Amazon’s
proprietary cellular phone GPS and freight tracking application.
On the night of October 14, 2019 Plaintiff was directed by both
Amazon and AAA to begin a trip originating in Edwardsville,

Illinois at 18:58 [see Plaintiff’s Ex. 1 page 6]. The trip
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required Plaintiff to travel 5 hours east to Shepherdsville,
Kentucky arriving at 02:21 in the morning. Upon arrival at
02:21 Plaintiff was to pick up a loaded trailer and return it to
the Edwardsville, Illinois facility by 23:48 on October 15,
2019. Because the round trip accounted for more than 10 hours
of Plaintiff’s 11 hours of drive time for that day, Plaintiff

could not complete the tour without taking a 10-hour rest break.

5. Accordingly, Plaintiff completed his shift, found safe
parking and then began and completed his 10-hour rest break
before he resumed driving at 22:00 on the night of October 15,
2019. Plaintiff then finished his tour and arrived back at
Edwardsville, Illinois at 04:32 on the morning of October 16,

2019. [See Plaintiff’s Ex. 1 page 6].

HERE IS THE WHERE THE COERCION AND ILLEGALITY ARISE

6. Amazon and AAA (through its technology] were fully aware
that Plaintiff began his 14-hour work day at 22:00 on the night
of October 15, 2019 [see Plaintiff’s Ex. 1 page 6] and yet still
coerced Plaintiff into driving a second shift that originating
in Edwardsville, Illinois at 07:46 on that same morning of
October 16, 2019. The load was to be delivered by 19:00 that
same night in Kenosha, Wisconsin. In order to comply with the
unlawful nature of Amazon and AAA’s demand, Plaintiff would be

forced to work and drive a double shift of 19 hours and 30
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minutes without taking a 10-hour rest break as required after 14

hours of on duty service.

7. The forgoing dispatch was unlawful because the FMCSA 14-
Hour Limit rule mandates that a driver may not drive beyond the
14th consecutive hour after coming on duty, following 10
consecutive hours off duty. AAA was aware of the violations
because AAA received electronic notifications [in real-time] via
the e-log system HOS clock violations arise. Amazon was aware
because it tracks a driver’s hours through it freight tracking

system.

8. In any event, Plaintiff resisted the unlawful dispatch.
However, his resistance triggered several heated phone arguments
between AAA, Plaintiff and Amazon which ultimately resulted in
the load being cancelled because Plaintiff did not have
sufficient driving hours remaining to work a second driving
shift. AAA then counseled Plaintiff during a follow-up phone
call stating: “Amazon is our biggest and best paying customer so
occasionally we have to bend the rules in order to appease
them.” And that if Plaintiff could not obey orders: “turn your
truck in and find a new line of work more suitable for laziness.
Are we clear?” Plaintiff now fearful for his job and livelihood

replied: “Yes sir I understand.”
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DUE TO PLAINTIFF’S RESISTANCE BOTH AAA AND AMAZON WHERE FULLY

AWARE OF PLAINTIFF’S 14-HOUR CLOCK

9. Regardless, pursuant to Plaintiff’s resistance, AAA and
Amazon working in lock-step and concert, canceled, the afore
described trip after being placed on noticed that Plaintiff
could not drive past noon without first taking a 10-hour rest
break pursuant FMCSA HOS 14-hour rule. However, in a strong-
armed act of coercion, Amazon and AAA then re-assigned Plaintiff
trip number T-161R3BX9 which was the very same trip that

Plaintiff had previously resisted for the reasons stated above.

11. Plaintiff, fearful for his job, ran the load although he
did not arrive until in Kenosha, Wisconsin until 20:50 due to

fatigue.

12. Plaintiff avers that the forgoing work day demanded that he
work a total of 21 consecutive hours without a 10-hour rest
break. It also required Plaintiff to drive well past the 14-
hour limit without a 10-hour rest break in violation of FMCSA

HOS.

13. Plaintiff avers that each of the afore said facts generated
numerous and obvious e-log violations. And that per the usual,
in an act to obfuscate its illegality and gross negligence,

AAA’s so-called safety department then remotely- edited
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Plaintiff’s e-log to reflect that Plaintiff was off-duty and did

5° or 16°* in order to give the

not drive on either October 1
impression that Plaintiff had not worked on either of those

days. [See plaintiff’s Ex. 1 pages 9 and 11].
FACIAL VIOLATIONS OF FMCSA HOS

14. Plaintiff avers that Plaintiff’s Ex. 1 makes it
unambiguously obvious that Amazon and AAA were fully aware and

knew or should have known that their conduct was unlawful.
B. SECOND CASE AND POINT [AAA’s CONDUCT RESPECTIVELY]

15. In a continued escalation and more brazened pattern of
abuse, on or about October 25, 2019 at 11:00, AAA dispatched
Plaintiff from Fort Dodge, Iowa to Worthington, Minnesota [4
hours northwest] to recover an empty trailer [see Plaintiff’s
Ex. 2 page 2]. Upon arriving in Worthington, Mn. Plaintiff
spent approximately 2 hours attempting to ascertain the
whereabouts of the abandoned trailer before eventually

retrieving it.

16. Upon retrieving the empty trailer, Plaintiff was then
directed to travel 1 hour and 30 minutes west to Sioux Falls,
South Dakota to pick up a load by 17:00. Accordingly, Plaintiff
arrived at the shipper there in Sioux Falls, South Dakota at

17:20 and spent 2 hours and 30 minutes loading [see Plaintiff's
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EX. 2 pages 3 and 4]. That brought the time of day to 20:00 at
night. The load was scheduled to be delivered by 10:00 the

following morning of October 26, 2019 [see Plaintiff’s Ex. 2

page 3].

17. Because Plaintiff began his work day at 11:00 that morning
[pursuant to dispatch] the FMCSA HOS 14-hour rule prohibited
Plaintiff to drive his semi-tractor past 01:00 without first

taking a 10-hour rest break.

18. As such, Plaintiff left Sioux Falls, South Dakota at 20:00
and drove until 23:30 reaching Lacrosse, Wisconsin where he

ceased driving and began his 10-hour rest break.

HERE IS WHERE THIS INSTANCE OF COERCION AND ILLEGAILTY AROSE

19. Later on, in the wee morning hours of October 26, 2019 at
03:00 hours [a mere 3 hours and 30 minutes into Plaintiff’s 10-
hour rest break] Plaintiff received a phone call from AAA
stating that GPS indicated that he had been parked for several
hours and was not “rolling.” Plaintiff explained that he was on
break and would be on break until 10:00. AAA told Plaintiff
that this was: “unacceptable” and that Plaintiff “needed to get
rolling immediately” in order “to avoid being fined by the

broker for missing the appointment time.” Fatigued but fearful
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for his job, Plaintiff acquiesced to AAA’s demand and began

driving again in violation of the FMCSA 14-hour rule.

20. Plaintiff arrived to his destination in Des Plaines,
Illinois at 12:25 only to find that the receiver closed at
10:00. Plaintiff then found a nearby truck stop and began his
much needed and long overdue 10-hour rest break. However, per
the usual, at 16:30 {a mere 4 hours into Plaintiff’s 10-hour
break] Plaintiff received a phone call from AAA wherein AAA
expressed its anger relative to Plaintiff having missed the

afore mentioned 10:00 delivery appointment.

21. During the course of that phone call Plaintiff was ordered
end his break and to bring the loaded trailer that he was
currently carrying to AAA headquarters in South Holland,
Tllinois and to drop it off there on the yard [see Plaintiff’s
Ex 2 page 6]. Because Plaintiff had begun his work day at 11:00
the previous morning of October 25, 2019 Plaintiff had now gone
33 hours and 30 minutes without being granted a proper 10-hour

rest break.

22. Nonetheless, upon Plaintiff’s arrival at AAA’s headquarters
at 17:30 he dropped his loaded trailer off as instructed. AAA
then told Plaintiff through verbal command and also in writing
[via official dispatch] to immediately travel to University

Park, Illinois to pick up a load and deliver it to Fulton,
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Missouri on the following morning [see Plaintiff’s Ex. pages 6
and 8]. AAA stressed in the strictest of terms that the
appointment time was at 08:00 the following morning of October

27, 2019.

23. Plaintiff in fear of not only of losing his job but also of
losing his leased semi-tractor [which was the sole source of his
livelihood] that he was leasing from AAA’s sister company obeyed
AAA's order and went to University Park, Illinois arriving at
18:30. Plaintiff then departed University Park for Fulton,

Missouri at 19:30.

24. Plaintiff then drove until 22:00 but due to sheer
exhaustion and fatigue from sleep deprivation, Plaintiff could
travel no further. Subsequently, Plaintiff then began his 10-
hour break, although, he could not take a 10-hour break and also

arrive in Fulton, Missouri by 08:00 as ordered by AAA.

ADDITIONAL ILLEGALITY AND COERCION BY AAA

25. Subsequently, in the early morning hours of October 27,
2019 at 02:30 [a mere 4 hours and 30 minutes into Plaintiff's
10-break] Plaintiff received a phone call from AAA wherein AAA
stated: “Driver you need to start rolling toward Fulton so that
we are not late for this appointment.” Plaintiff then resumed

driving and arrived in Fulton at 07:22 on the morning of October
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27, 2019 as denoted by the check-in time on the face of the
attached bill of lading/ shipping documents wherein the receiver
documented Plaintiff’s time of arrival [see Plaintiff’s Ex. 2
page 9]. In any event, Plaintiff then spent 4 hours there in
Fulton, Mo. allowing his trailer to be unloaded and departed the
receiver at 11:30 [see Plaintiff's Ex 2 page 9]. Plaintiff then
traveled a few miles down the road to the nearest truck stop and

began his 10-hour break.

26. The forgoing fact pattern meant that Plaintiff while under
the control and dispatch of AAA had been coerced and forced to
work from 11:00 on the morning of October 25, 2019 until 12:30
on October 27, 2019 which constitutes a work shift lasting 49

hours and 30 minutes without a 10-hour rest break.

27. Per the usual pattern, AAA’s safety department [in an act
of deception] then remotely- edited and falsified plaintiff’s e-
log in order to make appear as though Plaintiff had been resting
off duty for the entirety of October 26th and 27th and not
driving in violation of FMCSA HOS [see Plaintiff’s Ex. 2 pages 7

and 11].

C. THIRD CASE AND POINT [AMAZON AND AAA’s CONDUCT COLLECTIVELY]

28. Later, on the evening of October 27, 2019 Plaintiff

received a phone call from AAA wherein Plaintiff was informed
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that Amazon needed his tractor for a dispatch on the following
morning of October 28, 2019 at 06:00 [see Plaintiff’s Ex. 3 page
2]. Plaintiff then tried to explain to AAA that he was burnt
out, suffering from insomnia due to sleep deprivation and as a
result he was in a deep state of depression and needed more time

to try to recover physically and mentally.

29. AAA responded: “suck it up Driver. Listen to me and listen
to me very, very carefully. Don’t play games with my Amazon
account. Don’t be late for this pickup. You got it?” Plaintiff

responded: “yeah man, I got it.”

30. Regardless, on the morning of October 28, 2019 Plaintiff
obeyed AAA and departed Fulton, Missouri for Edwardsville,
Tllinois at 04:00 in order to arrive at Amazon by 05:45. Upon
Plaintiff’s arrival at Amazon’s Edwardsville, Illinois facility
Plaintiff checked in at the guard shack and was then assigned an
empty trailer. The trip’s itinerary then required that
Plaintiff travel 4 hours and 30 minutes east to Evansville,

Indiana for a pick-up.

31. Accordingly, Plaintiff arrived at Evansville and spent 1
hour and 45 minutes allowing his trailer to be loaded before
departing to make the journey back to Edwardsville, Illinois

arriving by 14:55 as Amazon’s itinerary required [see
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Plaintiff’s Ex. 3 page 2]. The round trip took approximately 9

hours of drive time.

32. Because Plaintiff drove 1 hour and 45 minutes at the
beginning of his shift from Fulton, Mo. to Edwardsville, Il.,
his total drive time for the day was 10 hours and 45 minutes.
33. This fact meant that pursuant to the FMCSA HOS 11-hour
rule, Plaintiff could only drive 15 additional minutes until
Plaintiff would have to rest for 10 consecutive hours prior to
driving again. Accordingly, Plaintiff then traveled to a nearby
Pilot Truckstop and began his 10-hour break, noting that the
time of day had now reached 17:30 in the evening [see

Plaintiff’s Ex. 3 page 3].

34. As Plaintiff had settled into his bunk in order to rest and
allow his body, Plaintiff received a phone call from AAA.
Plaintiff chose to ignore the call because he knew from past
experiences that AAA was about to ask Plaintiff to perform some

sort of act that would be illegal in nature.

35. AAA then called again. And then again and again and again
[back to back to back] which eventually forced Plaintiff to
finally answer AAA’s call. Plaintiff answered: “Hello!” AAA
responded: “Get some rest Weakley. Amazon wants you to roll out

tonight at 22:45 on a tour that picks up over in Edwardsville
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headed down to Memphis and back!” [See Plaintiff's Ex. 3 pages

4,5 and 6]. “Check your amazon app and don’t be late!”

36. Plaintiff then exclaimed: “I’m out of hours. Besides, I
already pulled my shift for today and you know that.” AAA
responded with a condescending chuckle and stated: “You know the
drill man, why are you acting green? Don’t worry about your

logs, I will have safety cover you and send you the edits.”

37. Plaintiff responded: “Why do ya’ll keep forcing me to drive
in violation like this, this is foul? I’m running on fumes out
here.” AAA then told Plaintiff: “Amazon needs this route
covered tonight because of increased volume and that’s all you

need to know.” “Check your app and don’t be late man.”

38. Plaintiff then ended the call and checked his Amazon app as
ordered. And low and behold, just as AAA had claimed, another
shift had been forced onto Plaintiff by AAA and Amazon
collectively [see Plaintiff’s Ex. 3 pages 4,5 and 6].

Plaintiff, livid with both AAA and Amazon, then rebelled and

resisted by directly calling Amazon to complain.

39. During the course of that call Plaintiff informed Amazon
that he: “was worn out and did not have any drive time left for
the day.” Plaintiff then asked Amazon: “Do you see where I have

already driven a 10-hour shift for you today?” Amazon stated:
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“Yes. But what’s your point?” Plaintiff then asked: “Well if
you see that, why in the heck are you putting another load on
me?” “You guys at Amazon claim to be so safety oriented but

that’s a big fat crock of crap apparently.”

40. Amazon then explained: “Sir you’re going to need to take
this issue up with your carrier, not us.” Amazon then asked:
“Sir will you be on time for your pick up tonight? This load
must pick up and deliver on time.” Plaintiff then responded:
“Go to hell. You just said you see that I have no hours
available yet you want me to run this load dirty for you

anyhow.” Plaintiff then abruptly ended the call.

41. Amazon apparently called AAA and expressed its displeasure
for Plaintiff's tone because AAA then called Plaintiff back
shortly thereafter and scolded him using the harshest of
profanities and angrily told Plaintiff that he was to: “never
call Amazon headquarters again.” AAA then went on to state:

“Run the load or turn in your keys!”

42. To be clear, Amazon Trip: T-113SXVHWR required Plaintiff to
report to Amazon’s Edwardsville, Illinois facility at 22:45 the
night of October 28, 2019. Plaintiff had just completed a tour
for Amazon at 14:55 that was a 10 hour round trip as supported
by Plaintiff’s Ex. 3 page 7. As a result, Plaintiff began his

10-hour rest break at 17:00. Ergo, to begin driving again at
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22:45 meant that Plaintiff could only rest for 5 hours and 45
minutes rather than the mandated 10 hours. It also meant that
Plaintiff would have to drive in violation of the 14-hour rule

as well.

43. Plaintiff having been effectively coerced into taking
Amazon Trip: T-113SXVHWR which was scheduled to depart from
Edwardsville at 22:45, attempted to rest his weary body but the
stress, pressure and mental fatigue from the long unlawful work
hours and the consistent pattern of coercion made it impossible

to sleep.

HERE IS WHERE AMAZON AND AAA’S COERCION MATERIALIZED IN THIS

INSTANCE

44, Said stress and pressure was immediately compounded when
AAA called Plaintiff back at 17:30 [just 30 minutes after
Plaintiff had told Amazon to “Go to hell”] and exclaimed: “Get
your lazy ass up Weakley! It’s time to go back to work!”
Flabbergasted, Plaintiff listened anxiously as AAA stated: “You
and your smart-ass mouth and disrespectful attitude just nearly
got banned from Amazon for life. They claim the only way to
make this right with them is to cover a “HOT” load for them up
in Rockford, Illinois tonight.” “I guess you really pissed
someone off over at Amazon because they took that good Memphis

run off you and put this Rockford run on you.” “Check your app
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and get rolling to Rockford. We’ve got a really tight window
here. Be there by 21:30 tonight for this pick up.” “And your ass

had better not be late Weakley!”

45. Plaintiff then checked his Amazon app and consistent with
the prior pattern of abuse perpetuated upon Plaintiff by AAA and
Amazon collectively, Amazon had indeed canceled Trip: T-
113SXVHWR. However, AAA and Amazon’s conduct became even more
egregious and more coercive as evidenced by Amazon Trip:
114TRS6LJ which did not provide for any rest whatsoever between

shifts [see Plaintiff’s Ex. 3 page 8].

46. Effectively, Plaintiff was coerced to immediately abort his
10-hour break [a mere 30 minutes into his break] that he had

just began at 17:00 because Amazon Trip: 114TRS6LJ required that
Plaintiff arrive in Rockford, Illinois by 21:30 on the night of

October 28, 2019.

47. Amazon Trip: 114TRS6LUJ would then require Plaintiff to
arrive in Crest View, Illinois by 01:06 on the morning of
October 29, 2019 and to then travel back to Rockford by 03:00
before he would be able to take his rest break. Pursuant to
Amazon Trip: 114TRS6LU Plaintiff was coerced into working 25
hours consecutively [well past the 14-hour rule limit without a
10-hour rest break] because Plaintiff’s shift began at 04:00 the

morning of October 28, 2019 and lasted until 03:00 the morning
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of October 29, 2019. Federal law prohibits such reckless

conduct by a carrier or 37° party broker such as Amazon.

48. Regardless, Plaintiff completed Amazon Trip- 114TRS6LJ at
16:07 on the evening of October 29, 2019. Per the usual, AAA
then altered Plaintiff’s e-log to make it appear as though he

gth and

were resting rather than driving on the night of October 2
the early morning hours of the 29th. [See Plaintiff’s Ex. 3 and

11).

D. FOURTH CASE AND POINT [AAA RESPECTIVELY]

49. Plaintiff avers that on the evening of October 29, 2019
Plaintiff spoke with AAA and informed AAA that he was in an
extreme state of fatigue and suffering from insomnia and
depression due to the sheer lack of sleep. Plaintiff informed
AAA that he was going to take a 34-hour rest break because
Plaintiff needed to rest his body and recover mentally. Thus,
Plaintiff began his 34-hour rest break at 16:45 on the evening

of October 29, 2019. [See Plaintiff’s Ex. 3 page 11].

50. On October 30, 2019 at 09:25 [just 14 hours and 25 minutes
into Plaintiff’s 34-hour break] Plaintiff received a phone call
and email from AAA notifying Plaintiff that AAA had dispatched
Plaintiff to St. louis, Missouri for a 15:00 pick up. Plaintiff

resisted that dispatch and ended the call with AAA. Moments
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later someone in upper management with AAA called Plaintiff back
and told Plaintiff in a very stern Russian accent: “I am not
here to argue and debate with you. You have two options. You
can run this load and keep your job or you can return my truck
and trailer here to Chicago and go find you a new job. We are
sick of your juvenile antics.” “So what your choice is Mr. Big

shot?”

51. Plaintiff tearfully and emotionally responded: “I have not
slept a wink because of all of the caffeine and stimulants I’ve
had to take just in order to stay awake. I’m not a machine.
Ya'll have ran me into the dirt and couldn’t care less about my
safety.” Nonetheless, Plaintiff under duress acquiesced and
responded: “Ok dude, I’11 run the load.” AAA then stated: “And
be advised that if you’re late, I am docking your pay 250

bucks.” [See Plaintiff’s Ex. 4 page 4].

52. As a result of the threat issued by AAA, Plaintiff relented
and prematurely ended his 34-hour break. Plaintiff then
proceeded to the shipper in St. Louis, Missouri as ordered.
After having his trailer loaded, Plaintiff then departed the

shipper in route to Cleveland, Tennessee at 16:30.

53. Fatigued, Plaintiff drove in short intermittent periods
throughout the night and as a result missed his 08:00

appointment as he arrived at 11:00 the morning of October 31,
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2019. Plaintiff’s trailer was unloaded by 13:00. Plaintiff was

then told to standby and wait for his next dispatch.

54. At 17:00 AAA called Plaintiff and notified him that there
was no freight in the area and subsequently dispatched him to
Johnson City, Tennessee. AAA stated that it would dispatch
Plaintiff the following morning of November 1, 2019 from Johnson

City.

55. At approximately 20:30 on the night of October 31, 2019
while traveling east bound on Interstate 26, Plaintiff fell
asleep at the wheel and crashed [“the Crash”] his semi-tractor

into a concrete barrier along the roadside at mile marker 17.

56. Plaintiff’s injuries suffered as the result of the Crash
have caused him to incur significant medical expenses, loss of

his business and loss of income.

CAUSES OF ACTION

57. Plaintiff would show the Court that the acts and omissions
of the Amazon and AAA as set forth above, individually and
independently, separately and collectively, constitute
negligence or illegality resulting in gross negligence per se
and are a direct and proximate cause of the Crash and resulting

injuries and damages sustained by Plaintiff.
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58. The violations, negligent acts, and omissions of Amazon and
AAA breached a number of duties owed to Plaintiff and the public

including, but not limited to:

a. a duty to exercise the degree of care, skill and
competence that a reasonable and ordinary employer and
or freight broker would exercise under similar

circumstances;

b. the duty to exercise reasonable care to avoid a

foreseeable risk of injury to other persons; and;

c. a duty to use ordinary care by not placing other in

harm’s way.

59. AAA, as Plaintiff’s employer breached the following duties
owed to Plaintiff and the public at large including, but not

limited to:

a. The duty to use ordinary care in providing a safe

workplace; and

b. the duty to use ordinary care in supervising an

employee’s activities.

DAMAGES & EXEMPLARY DAMAGES
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60. Accordingly, Plaintiff TIMOTHY WEAKLEY seeks all actual
damages to which he shows himself entitled. Plaintiff alleges

that his damages exceed $75,000.00.

61. Plaintiff’s damages include past and probable future loss,

including but not limited to:

a. pain ana suffering;

b. mental anguish;

c. loss of earnings and earning capacity;

d. necessary medical, therapeutic, pharmaceutical care; and

e. loss of consortium.

62. The conduct of Amazon and AAA, individually, as described
above constituted gross negligence, in that these Defendants’

act or omission:

(1) when viewed objectively from the standpoint of the defendant
at the time of its occurrence, involved an extreme degree of
risk, considering the probability and magnitude of the potential
harm to others; and (2) defendant had actual, subjective
awareness of the risk involved, but nevertheless proceeded with
conscious indifference to the rights, safety, and welfare of

others, including Plaintiff.
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561 PRAYER

562 WHEREFORE, Plaintiff, TIMOTHY WEAKLEY, prays that

563 Defendants, Amazon and AAA, individually, be served to appear
564 and answer, and for judgment that affords him actual damages,
565 exemplary damages, prejudgment and post-judgment interest and
566 any other relief to which Plaintiff has shown himself entitled.
567. Plaintiff also seeks any other such damages that may be awarded

568 by this Honorable Court.

569 Ty SUBMITTED:
570 “AN IN o_o

571 TIMOTHY WAYNE WEAKLEY
572 PRO SE
573 414 EAST MOUNTAIN VIEW ROAD
574 APARTMENT 503
575 423-797-0096

576 timothyweakley@yahoo.com
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